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     LATANYA WILLIAMS
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                Case No.:
     LATANYA WILLIAMS,
11                 Plaintiff,                     COMPLAINT FOR INJUNCTIVE
                                                  RELIEF AND DAMAGES FOR DENIAL
12           vs.                                  OF CIVIL RIGHTS OF A DISABLED
                                                  PERSON IN VIOLATIONS OF
13
                                                  1. AMERICANS WITH DISABILITIES;
14
     PRAGAT GANESH CORPORATION;                   2. CALIFORNIA’S UNRUH CIVIL
15   and DOES 1 to 10,                            RIGHTS ACT;
16                 Defendants.                    3. CALIFORNIA’S DISABLED
                                                  PERSONS ACT;
17
                                                  4. CALIFORNIA HEALTH & SAFETY
18                                                CODE;
19                                                5. NEGLIGENCE
20
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25
26           Plaintiff LATANYA WILLIAMS (“Plaintiff”) complains of Defendants PRAGAT

27   GANESH CORPORATION; and DOES 1 to 10 (“Defendants”) and alleges as follows:

28   //



                                         COMPLAINT - 1
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 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   substantially limited in her ability to walk. Plaintiff is a paraplegic due to T9 spinal cord
 4   injury and requires the use of a wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a liquor store
 7   (“Business”) located at or about 4086 Philadelphia St., Chino, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




                                              COMPLAINT - 2
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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, San Bernardino
 8   County, California, and Plaintiff’s causes of actions arose in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about February of 2022, Plaintiff went to the Business. Defendants
11   provide parking spaces for customers.
12         11.    The Business is a liquor store business establishment, open to the public, and
13   is a place of public accommodation and affects commerce through its operation.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with her ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to post required signage such as “Van Accessible.”
22                b.     Defendant failed to maintain the parking space designated for persons
23                       with disabilities to comply with the federal and state standards.
24                       Defendants failed to provide the access aisles with level surface
25                       slopes.
26         14.    These barriers and conditions denied Plaintiff the full and equal access
27   to the Business and caused her difficulty and frustration. Plaintiff wishes to return and
28   patronize the Business, however, Plaintiff is deterred from visiting the Business because



                                            COMPLAINT - 3
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 1   her knowledge of these violations prevents her from returning until the barriers are
 2   removed.
 3         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 4   there are additional barriers to accessibility at the Business after further site inspection.
 5   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 6   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8   knew that particular barriers render the Business inaccessible, violate state and federal
 9   law, and interfere with access for the physically disabled.
10         17.    At all relevant times, Defendants had and still have control and dominion
11   over the conditions at this location and had and still have the financial resources to
12   remove these barriers without much difficulty or expenses to make the Business
13   accessible to the physically disabled in compliance with ADDAG and Title 24
14   regulations. Defendants have not removed such barriers and have not modified the
15   Business to conform to accessibility regulations.
16                                   FIRST CAUSE OF ACTION
17       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18         18.    Plaintiff incorporates by reference each of the allegations in all prior
19   paragraphs in this complaint.
20         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21   shall be discriminated against on the basis of disability in the full and equal enjoyment of
22   the goods, services, facilities, privileges, advantages, or accommodations of any place of
23   public accommodation by any person who owns, leases, or leases to, or operates a place
24   of public accommodation. See 42 U.S.C. § 12182(a).
25         20.    Discrimination, inter alia, includes:
26                a.     A failure to make reasonable modification in policies, practices, or
27                       procedures, when such modifications are necessary to afford such
28                       goods, services, facilities, privileges, advantages, or accommodations



                                            COMPLAINT - 4
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 1                  to individuals with disabilities, unless the entity can demonstrate that
 2                  making such modifications would fundamentally alter the nature of
 3                  such goods, services, facilities, privileges, advantages, or
 4                  accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5            b.    A failure to take such steps as may be necessary to ensure that no
 6                  individual with a disability is excluded, denied services, segregated or
 7                  otherwise treated differently than other individuals because of the
 8                  absence of auxiliary aids and services, unless the entity can
 9                  demonstrate that taking such steps would fundamentally alter the
10                  nature of the good, service, facility, privilege, advantage, or
11                  accommodation being offered or would result in an undue burden. 42
12                  U.S.C. § 12182(b)(2)(A)(iii).
13            c.    A failure to remove architectural barriers, and communication barriers
14                  that are structural in nature, in existing facilities, and transportation
15                  barriers in existing vehicles and rail passenger cars used by an
16                  establishment for transporting individuals (not including barriers that
17                  can only be removed through the retrofitting of vehicles or rail
18                  passenger cars by the installation of a hydraulic or other lift), where
19                  such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20            d.    A failure to make alterations in such a manner that, to the maximum
21                  extent feasible, the altered portions of the facility are readily
22                  accessible to and usable by individuals with disabilities, including
23                  individuals who use wheelchairs or to ensure that, to the maximum
24                  extent feasible, the path of travel to the altered area and the
25                  bathrooms, telephones, and drinking fountains serving the altered
26                  area, are readily accessible to and usable by individuals with
27                  disabilities where such alterations to the path or travel or the
28                  bathrooms, telephones, and drinking fountains serving the altered



                                       COMPLAINT - 5
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 1                       area are not disproportionate to the overall alterations in terms of cost
 2                       and scope. 42 U.S.C. § 12183(a)(2).
 3         21.    Where parking spaces are provided, accessible parking spaces shall be
 4   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 5   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 6   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 7   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 8   be van parking space. 2010 ADA Standards § 208.2.4.
 9         22.    Under the ADA, the method and color of marking are to be addressed by
10   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
11   Building Code (“CBC”), the parking space identification signs shall include the
12   International Symbol of Accessibility. Parking identification signs shall be reflectorized
13   with a minimum area of 70 square inches. Additional language or an additional sign
14   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
15   parking space identification sign shall be permanently posted immediately adjacent and
16   visible from each parking space, shall be located with its centerline a maximum of 12
17   inches from the centerline of the parking space and may be posted on a wall at the
18   interior end of the parking space. See CBC § 11B-502.6, et seq.
19         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
20   each entrance to an off-street parking facility or immediately adjacent to on-site
21   accessible parking and visible from each parking space. The additional sign shall not be
22   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
23   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
24   designated accessible spaces not displaying distinguishing placards or special license
25   plates issued for persons with disabilities will be towed always at the owner’s expense…”
26   See CBC § 11B-502.8, et seq.
27         24.    Here, Defendants failed to provide signs stating “Van Accessible.”
28




                                           COMPLAINT - 6
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 1         25.      Under the 1991 Standards, parking spaces and access aisles must be level
 2   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 3   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 4   shall be part of an accessible route to the building or facility entrance and shall comply
 5   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 6   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 7   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 8   directions. 1991 Standards § 4.6.3.
 9         26.      Here, the access aisle is not level with the parking space. Under the 2010
10   Standards, access aisles shall be at the same level as the parking spaces they serve.
11   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
12   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
13   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
14         27.      A public accommodation shall maintain in operable working condition those
15   features of facilities and equipment that are required to be readily accessible to and usable
16   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
17         28.      By failing to maintain the facility to be readily accessible and usable by
18   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
19   regulations.
20         29.      The Business has denied and continues to deny full and equal access to
21   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
22   discriminated against due to the lack of accessible facilities, and therefore, seeks
23   injunctive relief to alter facilities to make such facilities readily accessible to and usable
24   by individuals with disabilities.
25                                 SECOND CAUSE OF ACTION
26                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
27         30.      Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 7
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 1         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3   national origin, disability, medical condition, genetic information, marital status, sexual
 4   orientation, citizenship, primary language, or immigration status are entitled to the full
 5   and equal accommodations, advantages, facilities, privileges, or services in all business
 6   establishments of every kind whatsoever.”
 7         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9   for each and every offense for the actual damages, and any amount that may be
10   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12   attorney’s fees that may be determined by the court in addition thereto, suffered by any
13   person denied the rights provided in Section 51, 51.5, or 51.6.
14         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
15   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16   shall also constitute a violation of this section.”
17         34.    The actions and omissions of Defendants alleged herein constitute a denial
18   of full and equal accommodation, advantages, facilities, privileges, or services by
19   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21   51 and 52.
22         35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24   damages as specified in California Civil Code §55.56(a)-(c).
25                                  THIRD CAUSE OF ACTION
26                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27         36.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                             COMPLAINT - 8
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 1         37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2   entitled to full and equal access, as other members of the general public, to
 3   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8   places of public accommodations, amusement, or resort, and other places in which the
 9   general public is invited, subject only to the conditions and limitations established by
10   law, or state or federal regulation, and applicable alike to all persons.
11         38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12   corporation who denies or interferes with admittance to or enjoyment of public facilities
13   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15   the actual damages, and any amount as may be determined by a jury, or a court sitting
16   without a jury, up to a maximum of three times the amount of actual damages but in no
17   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18   determined by the court in addition thereto, suffered by any person denied the rights
19   provided in Section 54, 54.1, and 54.2.
20         39.    California Civil Code § 54(d) specifies, “a violation of the right of an
21   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22   constitute a violation of this section, and nothing in this section shall be construed to limit
23   the access of any person in violation of that act.
24         40.    The actions and omissions of Defendants alleged herein constitute a denial
25   of full and equal accommodation, advantages, and facilities by physically disabled
26   persons within the meaning of California Civil Code § 54. Defendants have
27   discriminated against Plaintiff in violation of California Civil Code § 54.
28




                                            COMPLAINT - 9
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 1         41.    The violations of the California Disabled Persons Act caused Plaintiff to
 2   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3   statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                FOURTH CAUSE OF ACTION
 5                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6         42.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         43.    Plaintiff and other similar physically disabled persons who require the use of
 9   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10   such facility is in compliance with the provisions of California Health & Safety Code §
11   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12   provisions of California Health & Safety Code § 19955 et seq.
13         44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14   that public accommodations or facilities constructed in this state with private funds
15   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16   Title 1 of the Government Code. The code relating to such public accommodations also
17   require that “when sanitary facilities are made available for the public, clients, or
18   employees in these stations, centers, or buildings, they shall be made available for
19   persons with disabilities.
20         45.    Title II of the ADA holds as a “general rule” that no individual shall be
21   discriminated against on the basis of disability in the full and equal enjoyment of goods
22   (or use), services, facilities, privileges, and accommodations offered by any person who
23   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24   Further, each and every violation of the ADA also constitutes a separate and distinct
25   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26   award of damages and injunctive relief pursuant to California law, including but not
27   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
28   //



                                           COMPLAINT - 10
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 1                                   FIFTH CAUSE OF ACTION
 2                                         NEGLIGENCE
 3          46.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5          47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7   to the Plaintiff.
 8          48.    Defendants breached their duty of care by violating the provisions of ADA,
 9   Unruh Civil Rights Act and California Disabled Persons Act.
10          49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11   has suffered damages.
12                                     PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14   Defendants as follows:
15          1.     For preliminary and permanent injunction directing Defendants to comply
16   with the Americans with Disability Act and the Unruh Civil Rights Act;
17          2.     Award of all appropriate damages, including but not limited to statutory
18   damages, general damages and treble damages in amounts, according to proof;
19          3.     Award of all reasonable restitution for Defendants’ unfair competition
20   practices;
21          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22   action;
23          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24          6.     Such other and further relief as the Court deems just and proper.
25   //
26   //
27   //
28   //



                                            COMPLAINT - 11
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: April 4, 2022                    SO. CAL. EQUAL ACCESS GROUP
 6
 7                                           By:    _/s/ Jason J. Kim____________
                                                    Jason J. Kim, Esq.
 8                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 12
